Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 1 of 38

Date Filed 6/29/2022 2:45 PM
Superior Court - Worcester
Docket Nurnber

E-FILED

COMMONWEALTH OF MASSACHUSETTS
WORCESTER, SS. SUPERIOR COURT

Civil Action NO DIAS CV] u O-C.

 

GATES VILLAGE LLc,
Plaintif£,

Vo

AMGUARD INSURANCE COMPANY,
Defendant.

 

COMPLAINT AND DEMAND FOR JURY TRIAL
PARTIES
1. The Plaintiff, Gates Village LLC (“Gates”), with a

usual place of business at 61 Sherbrooke Road, Newton, MA 02458,

 

has at all times material owned the property known as 13-15
Gates Street, Worcester, Worcester County, Massachusetts 01610
{the “Property”).

2. The Defendant, AmGUARD Insurance Company (“Guard” or |
“Insurer”), has at all times material been a duly organized
insurer with its principal place of business located at 39 Public
Square, Wilkes-Barre, PA 18703, and licensed in the Commonwealth
of Massachusetts to issue insurance.

FACTS

3s The Defendant Guard issued a Businessowner’s Policy,

No. GABP152374, effective January 23, 2020 to January 23, 2021

{(“Policy”}, providing insurance coverage to Plaintiff Cates in

the event of various casualties to the Property.

4. The Policy includes Ordinance or Law Coverage (“Code
Coverage”) which provides, in Businessowners BP 04 46 O01 06
(Ordinance or Law Coverage), page 2 of 4, in relevant part:

1
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 2 of 38

Date Filed 6/29/2022 2:45 PM

Superior Court -

Docket Number

Worcester

3. Coverage 3 - Increased Cost of Construction
Coverage . d
With respect to the building that has sustained covere

direct physical damage, we will pay the increased cost
to:

a Repair or reconstruct damaged portions of

that building; and/or . £
b. Reconstruct or remodel undamaged portions o
that building, whether or not demolition is required;

When the increased cost is a consequence eof enforcement
of the minimum requirements of the ordinance of law.

However:

a. This coverage applies only if the restored or

remodeled property is intended for similar occupancy
as the current property, unless such occupancy is not
permitted by zoning or land use ordinance or law.

We will not pay for the increase cost of
construction if the building is not repaired,
reconstructed or remodeled.

b.

De On ox about April 13, ° 2020, the Property sustained
severe damage from a tree falling on the Property, causing severe
damage to the property, including, but not limited to, the roof
and rear exterior egress (the “Loss”).

6. Defendant Guard received prompt notice and assigned an

adjuster to the scene.

7. Defendant Guard covered direct physical damage to the

Property due to the Loss, including, but not limited to, the rear

exterior egress.

8. The City of Worcester required Plaintiff Gates to comply

with various Massachusetts State Building Code requirements in
connection with repairing the rear exterior egress that had been

damaged in the Loss and covered under the Policy.

9. None of the stated exceptions in the Code Coverage are

applicable.
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 3 of 38

Date Filed 6/29/2022 2:45 PM
Superior Court - Worcester

Docket Number

i0. On or about June 24, 2020, Plaintiff Gates retained a
licensed public adjuster, Mario Dies, to assist the Plaintiff in
making claims for direct damage and Code Coverage (the “Code
Claim”).

11. Plaintiff Gates has provided architectural and
engineering plans, general contractor estimates, and various
inquiries to Defendant Guard over the course of months, with no
response.

12. Plaintiff Gates has made multiple and repeated attempts,
over the course of many months, to obtain coverage, Defendant
Guard’s engineering xeport, or a response to the Code Claim, with
no response by Defendant Guard.

13. On or about April 12, 2022, the City of Worcester issued
and delivered a violation to Plaintiff Gates (the “Violation”) due
to non-compliance with Massachusetts State Building Code
requirements with respect to its rear exterior egress.

14. On or about June 28, 2022, Plaintiff Gates obtained a
loan to fund repairs to the rear exterior egress that had been
damaged in the Loss and covered under the Policy in compliance
with the minimum requirements of the Massachusetts State
Building Code as set forth in the Violation.

15. Defendant Guard was notified about the Violation and
that due to Defendant Guard’s lack of response or coverage,
Plaintiff Gates intended to enter into a loan to fund the
yepairs to the rear exterior egress in accordance with

Massachusetts State Building Code requirements as being enforced

by the City of Worcester.

 
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 4 of 38

Date Filed 6/29/2022 2:45 PM
Superior Court - Worcester

Docket Number

16. The Policy and Massachusetts law provide that the
Plaintiff must bring suit within two years of a loss to preserve
its rights.

17. The two-year statute of limitations to file suit or
initiate reference expires on June 30, 2022, and Defendant Guard
has not responded to multiple requests for statute extension
beyond this date.

18. By letter dated June 3, 2022, the Plaintiff demanded
reference.

19. As of the date hereof, Guard defendant has not responded
to Plaintiff Gates’s demand for reference, in violation of MGL c.
175, § 99.

COUNT I (Breach of Contract}

20. Plaintiff Gates realleges and incerporates by reference
each and every allegation of paragraphs 1-19.

21. Defendant Guard’s failure to make payment to Plaintiff
Gates for the Code Claim or communicate with Plaintiff constitutes
a material breach of the Policy and Guard’s implied duty of good
faith and fair dealing.

22. As a result of Defendant Guard’s breach of contract, the
Plaintiff has sustained substantial damages, including incidental
and consequential damages.

COUNT II (Declaratory Judgement)

23. Plaintiff Gates realleges and incorporates by
reference each and every allegation of paragraphs 1-22.

24. There is an actual controversy which has arisen between

Plaintiff Gates and Defendant Guard.
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 5 of 38

Date Filed 6/29/2022 2:45 PM
Superior Court - Worcester

Docket Number

COUNT TII (Violation of G.L. c. 93A_ and 176D)

25. Plaintiff Gates realleges and incorporates by reference
@ach and every allegation of paragraphs 1-24.

26. Plaintiff Gates and Defendant Guard are each engaged in
trade or commerce.

27. Defendant Guard's acts and omissions constitute knowing
and willful unfair acts and/or deceptive practices declared
illegal pursuant to G.L. c. 93A and 176D and the regulations
promulgated thereunder.

28. Defendant Guard’s wrongful conduct occurred primarily
and substantially in the Commonwealth of Massachusetts.

23. As a result of Defendant Guard’s unfair and deceptive
trade acts and practices, the Plaintiff Gates sustained pecuniary
and economic loss.

WHEREFORE, the Plaintiff prays:

1. that the Court enter judgment in favor of the Plaintiff
for damages on Count I, along with interest, costs of suit, and
“attorney's fees;

2. that the Court declare the respective rights and
obligations of the Plaintiff and the Defendant on Count II,
pursuant to G.L. c. 2314;

3. that the Court enter judgment in favor of the Plaintiff
for actual damages on Count III, along with double or treble
damages, interest, reasonable attorneys’ fees, and costs of suit;
and

4. that the Court enter such other and further relief as it

deems just and proper.
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 6 of 38

Date Filed 6/29/2022 2-45 PM
Superior Caurt - Worcester
Docket Number

By its attorney,

OF.

Tova M. Goldring (BBO #680907)
TG Law, LLC

867 Boylston Street

Suite 500

Boston, MA 02116
goldringlegal@gmail.com
617-564-1140

Dated: June 29, 2022
THE PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUES
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 7 of 38
Case 1:22-cv-11521-AK Document1-1 Filed 09/16/22 Page 8 of 38

Date Filed 6/29/2022 2:45 PM ; . Ra FE a ED
Superior Court - Worcester — -~%, a
Docket Number ~

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

STATEMENT OF RAMAGES PURSUANT TO GL. c. 212.8 3A

Tha following is a full, itemized and detailed statement af the facts on which the undersigned plaintilf or plaintiff's counsel celles to determine money damages.
For this form, disregard double or treble damage claims: indicate Single damages only, .

(A. Documented medical expenses to date

 

 

 

 

 

 

 

 

 

 

 

 

1. Total hospital expenses $0.00
2, Total doctor expenses $0.00
3. Total chiropractic expenses $0.00
4. Total physical therapy expenses $0.00
5. Total other expenses {describe below) $0.00
INVA |
Subtotal (4-5): $0,00
8, Documented lost wages and compensation to date . ° $0.00
&. Documented property damages to date $0.00
D. Reasonably anticipated fatura medical and hospital expenses $0.00
E, Reasonably anticipated lost wages $0.00
F. Other dacumented items of damages (describa below) $0.00

 

[NIA |
TOTAL (A-F): $0.00
G, Briefly describe plaintiff's injury, including the natura and extent of injury:

NA

a

CONTRACT CLAIMS

 

 

 

 

 

 

 

 

 

 

DOCKET NUMBER Trial Court of Massachusetts cS
CIVIL ACTION COVER SHEET The Superior Court “/
arc V i Cate jWorcester Superior Court (Worcester) 4
Plainutf Gates Vilage LLC "| Dafendant: AmGUARD Insurance Company
ADORESS: 61 Sherbrooke Road ADDRESS: 39 Public Square
Newton, MA 02458 Wilkes-Barre, PA 18703
Plaintiff Attornay: Tova Goldring Dafendant Attomey:
AODRESS: 7G haw, Uc ADORESS:
867 Bayision Streot, Suto $00
Besion, MA 02446
BEO: S80907 BBO:
TYPE OF ACTION AND TRACK DESIGNATION (sco Instructions section below}
CODE NO, TYPE OF ACTION (spocity) TRACK HAS A JURY CLAIM BEEN MADE?
AG Insurance Contract F ves (J No
“if "Othor” please describe: NVA
ts there a clalm undor G.L. 6. 93A? Is there a elass action under Mass. R. Civ. P. 237
ves [No Clres fj no

 

O This action inctudes a calm involving collection of a debt incurred pursuant to a revolving credit agreement, Mass. R, Civ. P. 8.1(a).
Item # Detailed Description of Each Claim Amount
i. Replacement Cost Value under the Code Claim muliiptied by Treble Damages (seo attached statement) $315,319.29
Cost of Incurring a van to fund repairs in compliance with minimum Massachusetts Building Code Requirements.
2. This amount refiects interest charges under the loan, fees incurred In connection secuting the loan, and Treble $60,041.85
Damages (see altached statement).
3 Court Filing Fea. Plalntiffis further including a claim for interast, attomeys fess, end additional costs of suit, in an $305.58
. amount to be later determined. _
Total} $375,666.72
th, 2
Signature of Attomey/Unrepresented Plaintif:X QUA Ao | | Date: Juna 29, 2022

 

RELATED ACTIONS: Please provide the case number, casa name, and county of any related actions pending in the Superior Court.

 

 

 

1

 

Scooos: w222021 ; wwwmass.govicours DatelTime Printed.06-28-2022 13:56:56

‘at
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 9 of 38

Date Filed 6/29/2022 2:45 PM
Superior Court - Worcester
Docket Number a me

 

— GERTIFICATION PURSUANT TO SJC RULE 1:18
Uboreby certify thet | have complied with requirements of Rule § of the Supreme Judicial Court Unifonn Rules on Dispute Resolution (SJG Rule 1:18) requiring that f provide my

 

clients wilh information about court-conneeted igpule rasalufion services and discuss with them lhe advantages and disadvantages of the various methods of dispute resalution.

 

 

 

SCoogts 4/27/2029 . Wiinw.mass.govicourts Dale/Tima Printad:06-29-2022 13:56:56

 

Signature of Atomey/Unrepresented Plaintiff: X On FAK i | Dato: June 25, 2022
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 10 of 38

Date Filed 629/20202:45 PM
Superior Court - Worcester

Docket Number

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CIVIL ACTION COVER SHEET, CONTINUED
ATTACHED DAMAGES STATEMENT

COMMONWEALTH OF MASSACHUSETTS

WORCESTER, SS. SUPERIOR COURT -

Civil Action No. IBSEN +

RE: GATES VILLAGE LLC, Plaintiff, v. AMGUARD INSURANCE COMPANY, Defendant.

CLAIM ITEM 1:

As further detailed in the Complaint, Defendant has materially
breached its insurance contract with Plaintiff and has failed to pay any
emounts covered under the Ordinance or Law portion of the Insurance
Agreement. Further, Defendant has knowingly and willfully engaged in
unfair acts and/or deceptive practices declared illegal pursuant to G.L.
G. 934 and 176D and the regulations promulgated thereunder by its various

acts and omissions, which have resulted in substantial damages to
Plaintiff.

The damages calculation for this portion of the claim reflects the
Replacement Cost Value of complying with the Massachusetts State Building
Code requirements as enforced by the City of Worcester in connection
with repairing the rear exterior egress that was damaged in the loss and
covered under the insurance contract. Included herein is the Code Claim
prepared by Plaintiff's public adjustor to date and submitted to
Defendant, including relevant invoices. Plaintiff further requests
treble damages as allowable and appropriate under G.L. c. 933; therefore,
the amount specified on the Civil Action Cover Sheet is the product of
the Replacement Cost Value multiplied by three.

CLAIM ITEM 2:

As further detailed in the Complaint, as a result of Defendant's
breach of contract and knowing and willful unfair acts and/or deceptive
practices declared illegal pursuant to G.L. c. 93A and 176D and the
regulations promulgated thereunder, and the subsequent violation issued
by the City of Worcester enforcing the Massachusetts State Building Code
requirements in connection with the rear exterior egress that was damaged
in the Loss and covered by the insurance contract, Plaintiff incurred
reasonable and foreseeable damages in connection with securing a loan
to fund such repairs.

Aq
*~ Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 11 of 38

“2
Date Filed 6/20/2032 2:45 PM
Superior Court - Worcester
Docket Number

 

The amount for this claim reflects the interest payments Plaintiff
is required to pay the lender over the course of the loan and fees
incurred in connection with securing the loan. Included herein are the
Note and Mortgage documenting such loan, and invoices which further
substantiate these damages. Plaintiff further requests treble damages
as allowable and appropriate under G.L. c. 93A; therefore, the amount
specified on the Civil Action Cover Sheet is the product of the
Replacement Cost Value multiplied by three. ‘

By its attorney,

hr Pry

Tova M. Goldring (BBO #680907)
TG Law, LLC
867 Boylston Street
Suite 500
Boston, MA 02116
goldringlegal@gmail.com

_ 617-564-1140

Dated: June 29, 2022
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 12 of 38

Date Filed eradods: 2:45 PM
Superior Court - Worcester
Docket Number

CLAIM 1 Supporting Documentation:
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 13 of 38

if
Date Filed 6/29/2022 2:45 PM
Superior Court - Worcester
Docket Number

Mario J. Dies, Licensed Public Adjuster

133 Hastings Road

Spencer, MA 01562

C: (508) 340-5729

Email: mariojdies@mijdpublicadjusters.com

Client: Gates Village, LLC: O/L Claim
Property: 13-15 Gates Street
Worcester, MA 01610

Operator; MARIOJDI :
Estimator: Mario J. Dies

Type of Estimate: <NONE>
Date Entered: 9/15/2020 Date Assigned:

Price List MAEM8X_APR20
Labor Efficiency:  Restoration/Service/Remodel
Estimate: 2020-09-15-1924-1-1
File Number: O/L Claim
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 14 of 38

Date Filed 6/29/2022 2:45 PM
Superior Court - Worcester
Docket Number

Mario J. Dies, Licensed Public Adjuster

 

133 Hastings Road

Spencer, MA 01562

C: (508) 340-5729

Email: mariojdies@mjdpublicadjusters.com

 

 

 

2020-09-15-1924
O/L Related

O/L Related Height: 8°
DESCRIPTION QTY UNIT PRICE TOTAL
PROFESSIONAL PLANS/DRAWINGS: EGRESS/DECKS/STAIRWELLS, ALL PER ATTACHED PLANS/DRAWINGS

1, Plans/drawings, per attached from Stephen Fleshman Architect, LLC. 100 EA @ 8,500.00 = 8,500,00
Per attached invoice.

2. Property Management's Invoice to oversee the above. 1.00 EA@ 1,700.00 = 1,700.00
O/L CONSTRUCTION, PER ATTACHED SIGNED CONTRACT BETWEEN INSURED AND SANTOS CONTRACTOR

3. Decks, stairwells, egress, etc...... This amount reflects the GC's 1.00 EA@ 119,760.00 = 119,700.00

estimate which includes direct and O/L. O/P is included in this amount.
DEDUCT THE FOLLOWING LINE ITEMS THAT WERE ALLOWED FOR ON THE DIRECT DAMAGE OFFER:

 

 

 

4, Staircase above rubber roof: Line items 65 through 72. Amount 1.00 EA @ -7,437.96 = -7,437.96

deducted ines O/P and per acv amount.

5. Staircase/deck from 2nd fir to roof top: Line items 73 through 91. 1.00 EA @ -5,255.53 = -5,255.53

Amount deducted incs O/P and per acv amount.

6. Ist flr deck: Line items 92 through 105, Amount deducted incs O/P 100 EA @ -7,538.54 = -7,538,54

and per acv amount.

7. Demo, line item 114: This amount is specific to demo of decks/stairs 100 EA@ - 1,447.88 = - 1,447.88

only, 3 men x | day x $50.26. Amount incs O/P. .

8. Line item 120: Commercial supervision, 24 hours x $80.43, related to 100 EA@ -2,316.38 = -2,316.38

O/L. Amount incs O/P.

9. Line item 123: Temporary entrance during repairs. 1.06 EA@ 3,797.28 = -3,797.28
Generals

Generals Height: 8'

DESCRIPTION QTY UNIT PRICE TOTAL

GENERALS

10. Fee to City to present egress plan, per attached invoice. 1,00 EA @ 1,200.00 = 1,200.00

1. Survey fee, see attached invoice 1,00 EA @ 1,800.00 = 1,800.00

 

 

2020-09-15-1924-1-1 6/27/2022 Page: 2
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 15 of 38

Date Filed 6/29/2022 2-45 PM
Superior Court - Worcester
Docket Number

Mario J. Dies, Licensed Public Adjuster

 

133 Hastings Road

Spencer, MA 01562

C: (508) 340-5729

Email: mariojdies@mjdpublicadjusters.com

Grand Total Areas:

768.00 SF Walls 288.00 SF Ceiling

288.00 SF Floor 32.00 SY Flooring
0.00 SF Long Wali 0.00 SF Short Wall

288.00 Floor Area 320.89 Total Area

912,00 Exterior Wall Area 101,33 Exterior Perimeter of

Wallis

0.00 Surface Area 0.00 Number of Squares
0.00 Total Ridge Length 0.00 Total Hip Length

2020-09-15-1924-1-]

1,056.00
96.00
96.00

768.00

0.00

SF Walls and Ceiling
LF Floor Perimeter
LF Ceil. Perimeter

Interior Wall Area

Total Perimeter Length

6/27/2022

Page: 3
Case 1:22-cv-11521-AK Documenti1-1 Filed 09/16/22

Date Filed 6/29/2022 2:45 PM
Superior Court - Worcester
Docket Number

Mario J. Dies, Licensed Public Adjuster

133 Hastings Road

Spencer, MA 01562

C: (508) 340-5729

Email: mariojdies@mjdpublicadjusters.com

Summary
Line Item Total

Replacement Cost Value
Net Claim

Page 16 of 38

105,106.43

$105,106.43
$105,106.43

 

 

Mario J. Dies

2020-09-15-1924-1-1

6/27/2022

Page: 4
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 17 of 38

Date Filed 6/29/2022 2:45 PM
Superior Court - Worcester
Docket Number

99 APPLE ROAD
BRIMFIELD, MA 01010

PHONE: 508.347.7188 STEPHEN FLESHMAN ARCHITECT. » LLC

FAX; 508.347.8939
Fleshman@SF-Arch.com

INVOICE FOR ARCHITECTURAL SERVICES

Invoice No: 21-033-1
Project No: 21 - 033

CLIENT:

Gates Village, LLC
61 Sherbrooke Rd
Newton, MA 02458

PROJECT
13715 Gates Street Egress Stairs Project

 

 

Compensation Due:
Construction Documents $8,500.00
Percentage Complete 100.00% $8,500.00
Sub total $8,500.00
Less Previously Billed $0.00
Design total $8,500.00
Additional Services
Architect 0 hrs @ $105.00 $0.00
Drafting 0 hrs @ $85.00 $0.00
Sub total $0.00
Reinbursable Expenses - Cost pilus 0%
Mileage /Tolls $0.00 0.00% $0.00
Sub total $0.00
Reinbursable Expenses - Cost plus 15%
Copies $0.00 15.00% $0.00
Sub total $0.00
Reinbursable Expenses Total $0.00
Total Due This Invoice $8,500.00
Net Due Upon Receipt

Make checks payable to Stephen Fleshman Architect, LLC
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 18 of 38

Date Filed 6/29/2022 2:45 PM
Superior Court - Worcester
Docket Number

May Property Management LLC

PO Box 691

Shrewsbury, MA 01545 US MAY

mm@maypm.com MPM PROPERTY
MANAGEMENT

INVOICE

BILLTO INVOICE 2373

Daniel Toubian DATE 03/03/2022
Gates Village LLC TERMS Due on receipt
61 Sherbrooke Rd DUE DATE 03/03/2022

Newton, MA 02458

 

Ree a pate aMoun
Project Management 1 4,700.00 4,700,00T
Oversee design and review
of architect
SUBTOTAL ” " 4,700.00
TAX 106.25
TOTAL 4,806.25
BALANCE DUE $1,806.25

Page 4 of 1
Case 1:22-cv-11521-AK D -

assTisi enamooe 248 PM ocument 1-1 Filed 09/16/22 Page 19 of 38
Superior Court 2 Worcester

Docket Number

Santos Contractor

69 Swan Street
Everett, MA 02149
(617)446-7062

Project Proposal

Prepared for: Gates Village, LLC
Location: 13-15 Gates Street Worcester, MA
Date: May 17", 2022

Description: .
e Build one deck on the first floor to the second floor and second floor to the third floor
on the right side of the house according to plan.
© Build one deck on the first floor to the second floor and second floor to the third floor
on the left side of the house according to plan.
e Install all required footings according to plan.
e Install motion lights on both sides of the building according to plan.
e Complete all remaining items as per plan according to plan.
Remove all trash and debris.

Total Labor and Materials: $99,750
General Contractor Overhead @ 10%: $9,975
General Contractor Profit: @ 10%: $9,975

Date: ¢ [ 9/22

Total Cost: $119,700

 

Contractor

04 tes, 6 \\ Oe

Daniel Toubian, as Member of Gates Village, LLC

 

 
Case 1:22-cv-11521-AK

Date Filed 6/29/2022 2:45 PM

Document 1-1 Filed 09/16/22 Page 20 of 38

Docket Rites Pa

Gmail - Fwd: 13-15 gates plan

R44 Gmail

Tova Goldring <goldringlegal@gmail.com>

 

Fwd: 13-15 gates plan

2 messages

 

daniel toublan <danial.toublan@gmail.com>
To: Tova Goldring <goldringlegal@gmail.com>

 

 

Forwarded message
From: DiBenedetto, Brian <DiBenedettoB @worcesterma.gav>
Date: Wed, Jun 8, 2022 at 9:31 AM

Subject: RE: 13-15 gates plan

To: daniel toubian <daniel toubian@gmail.com>

Yup

Wed, Jun 29, 2022 at 2:20 PM

Fve attached the payment stub for reference. For some reason it doesn't give an amount. So linserted a serfeenshot:

Residential Permit Fee
Became active 16 hours azo

quedzto
(@) none

Pay

O Pay with check, cash, of another method
t No processing fee

© Pay with a Credit Gard
: $36 87 procossing feo

+ Pay with eCheck
aChack it avadabla in the Potiic Portal Leam more

Total Due:

$1200.00

 

Brian

Fram: dantel taublan <daniel.toubian@gmail.com>

Sent: Wednesday, June 8, 2022 9:16 AM

To: DiBenedetto, Brian <DiBenedetioB@worcesterma.gov>
Subject: Re: 13-15 gates plan

 

‘Caution: This email came from outside the City of Worcester. Do not click on links of open attachments unless
know the contents are safe.

you are sure you recognize the sender and you

 

 

Can | eal in payment by credit card?

https://mail.google.com/mailfu3/7ik=78a68d7e9 1 &view=pt&search=all&permthid=thread-T%3A1 736994308010437621&simpl=msg-%3A1736994308...

128
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 21 of 38

 

Date Fited 6/29/2022 2:45 PM

Superior Court - Worcester

Docket Number

ss CITY OF WORCESTER
Department of Inspectional Services
25 Meade Street June 7, 2022
Worcester, MA 01610
Phone: 508-799-1198 Fax: 508-799-8544

 

Mail in or deliver in person a check or money order payable to “City of Worcester” for the permitilicense fee, along with this printed payment stub, to
the address shown above.

Applicant: Chris Macfaden
Type of Permit: Building Permit
Permit #: B-22-1728

Date Submitted: May 17, 2022
Location: 13 GATES ST
Case 1:22-cv-11521-AK

Date Filed 6/29/3022 2:45 PM
Superior Court - Worcester
Docket Number

_Tauper Land Survey, Inc.
710 Main St N Oxford Ma 01537

P.O. Box 744

N Oxford MA 01537

A mm ee

o wee &

 

Bilt To

 

 

Daniel Toubian
13-15 Gates Street
Worcester MA

 

 

Document 1-1 Filed 09/16/22 Page 22 of 38

Invoice .

 

Date Invoice #

 

 

 

6/24/2022 | 22-266

 

 

 

PROJECT

 

22-245
13-15 Gates Street
Worcester MA

 

 

 

Serviced

Hours

Description

Amount

 

 

 

 

Certified plot plan

1,800.00

 

 

 

 

Phone #

 

 

 

508-927-2266,

 

Total

 

$1,800.00

 

 
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 23 of 38

Date Filed 6/29/2022 2:45 PM
Superior Court - Worcester
Docket Number

Claim 2 Supporting Documentation:
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 24 of 38

Date Filed 6/29/2022 2:45 PM
Superior Court - Worcester

Docket Number

ee

After recording, please return to:
TG Law, LLC

867 Boylston Street, Suite 500
Boston, MA 02116

Property Address: 13-15 Gates Street, Worcester, MA 01610

MORTGAGE

This MORTGAGE is granted by Gates Village LLC, a Massachusetts limited liability
company with a mailing address at 61 Sherbrook Road, Newton, MA 02458 (the “Mortgagor”)
to Houchague Toubian, an individual with an address at 275 Engle Street, B1, Englewood, NJ
07631 (the “Mortgagee”).

In consideration of the mutual covenants contained herein and benefits derived herefrom,
and for good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, Mortgagor agrees to the following terms and conditions:

i. Morteage Obligations. To secure the prompt, punctual, and faithful payment and
performance of:

(a) The obligations of Gates Village LLC, as evidenced by a Secured Promissory Note
in the amount of $100,000.00 dated June 28, 2022 (the “Note”); and

(b) the performance and observance of each and every covenant, condition and
obligation contained in the Note, this Mortgage, and all other documents,
instruments and agreements given by Mortgagor to Mortgagee (subsections (a) and
(b) being collectively referred to herein as, the “Obligations”);

the Mortgagor hereby grants, mortgages, assigns, and transfers to Mortgagee with MORTGAGE
COVENANTS, the certain parcel(s) of land, and all rights and easements of every kind and nature
appurtenant thereto, together with all buildings and fixtures and appurtenances thereto and
improvements now or hereafter thereon, known as and numbered 13-15 Gates Street, Worcester,
MA, 01610 as more particularly described on Exhibit A annexed hereto and made part hereof
(hereinafter called the “Mortgaged Premises”).

The Mortgagor covenants that the Mortgagor is lawfully seized of the Mortgaged Premises
hereby conveyed and has the right to mortgage, grant and convey the Mortgaged Premises. The
Mortgagor warrants and will defend generally the title to the Mortgaged Premises against all
claims and demands.

2. Mortgage Conditions. This Mortgage is upon the STATUTORY CONDITION
and upon the further condition that all covenants and agreements on the part of the Mortgagor
herein contained or herein referred to shall be fully kept and performed, for any breach of which
the Moitgagee shall have the STATUTORY POWER OF SALE.

3. Taxes and Other Costs. The Mortgagor covenants to pay when due all taxes,
charges, assessments, water rates, sewer use charges and other charges which may form the basis

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Case 1:22-cv-
1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 25 of 38

Superior Court - Worcester
Docket Number /

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or Oe enon upon or in connection with the Mortgaged Premises or any interest therein or

withhold pa neat ania secured hereby, provided, however, the Mortgagor shall have the right

hon - and/or contest in good faith any such taxes or other charges, provided such

e payment does not result in a lien against the Mortgaged Premises and the Mortgagor has
equately reserved for such unpaid taxes and/or other charges.

__ 4. Insurance, The Mortgagor shall kee the Mortgaged Premises constantly and
satisfactorily insured on an “all risk” basis in an amt equal to one hundred percent (100%) of
the replacement costs of the improvements, said coverage to be endorsed with a Replacement Cost
Endorsement. Mortgagor shall obtain a policy of flood insurance if the Mortgaged Premises of any
portion thereof is located in a federally designated flood hazard-area, or is located in a flood prone
area or flood plain under state or local law. All such insurance shall be evidenced by valid and
enforceable policies in form and substance acceptable to Mortgagee.

5. Hazardous Waste: Indemnity. The Mortgagor does hereby, for itself and its
SUCCESSOTS and assigns, agree to and hereby does indemnify, defend and hold harmless Mortgage
and its assigns, successors and grantees, of and from any and all liabilities, assessments, suits,
damages, reasonable costs and expenses, reasonable attorney’s fees, or judgments arising out of
the handling and disposal of hazardous waste, oil and/or toxic substances including clean-up
thereunder, including without limitation, the assertion of any lien pursuant to M.G.L. Chapter 21E
taking priority over the lien of this Mortgage. The Mortgagor farther indemnifies and hold
harmless Mortgagee and its assigns, successors and grantees from any and all infractions and liens
arising from any liability or indebtedness to the Commonwealth of ‘Massachusetts arising pursuant
to the provision thereof or any liens arising from other applicable laws or ordinances, excluding
from the foregoing indemnity any matters arising from the Mortgagee’s gross negligence, bad faith

or willful misconduct. The rights and remedies of Mortgagee under this Paragraph are cumulative.
This indemnity shall survive the discharge of this Mortgage and payoff of the Note.

6. Payment of Other Indebtedness. The Mortgagor shall pay all indebtedness secured
by any mortgage creating a senior and prior lien or junior and subordinate lien (if any) on the
Mortgaged Premises, and perform all covenants, terms and conditions contained in any such
mortgage on the part of Mortgagor to be performed and observed, all within the periods provided
for payment, performance and observance in any such mortgage, thereby preventing an event of
default from occurring thereunder, subject to the Mortgagor’s right to contest in good faith such
indebtedness or covenants, terms and/or conditions. This Mortgage shall be subordinate only
to a Mortgage in the original principal amount of $697,500 to BayCoast Bank recorded on
November 18, 2021, im the Worcester District Registry of Deeds in Book 66558, Page 234.

10. Events of Default. The occurrence of any of the following events shall constitute
an Event of Default hereunder:

(a) The failure to pay when due, beyond the applicable grace and/or cure periods, if
any, any amount payable under the Note or this Mortgage;

(b) The occurrence of any Event of Default under the Note, this Mortgage, or any
related documents executed concurrently herewith or supplemental hereto, beyond any applicable

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Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 26 of 38

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grace periods;

(c) The Mortgaged Premises are attached or liened for an amount in excess of
$10,000.00 and said attachment or lien is not removed or bonded within thirty (30) days;

(d) The Mortgaged Premises, or any portion thereof or any interest therein, is
conveyed, voluntarily encumbered or otherwise transferred in any way without the prior written
consent of Mortgagee; or

(e) The failure of Mortgagor to perform or observe any of his obligations, covenants,
or agreements contained in this Mortgage, the Note, or in any other document, instrument or
agreement pertaining to the indebtedness of the Mortgagor to Mortgagee or the security therefor,
beyond any applicable grace periods.

7. Waiver of Delay. No waiver, forbearance, extension of time or other indulgence
shown by Mortgagee to the Mortgagor or to any person now or hereafter interested herein or in
the Mortgaged Premises, with respect to the payment and/or performance of any of the
Obligations, shall affect the right of Mortgagee thereafter to require performance or observance of
the same or any other condition, covenant or agreement, or shall operate to release, discharge,
modify, change or affect the liability of the Mortgagor herein, either in whole or in part.

8. Rights and Remedies Upon Default. Upon the occurrence of any Event of Default
hereunder, the Mortgagee may at any time thereafter, at its option and without notice, exercise any
or all of the following rights, which rights shall be cumulative and not exclusive and in addition to
any other rights granted to Mortgagee under this Mortgage:

(a) declare all indebtedness secured hereby due and payable, anything in this Mortgage
or in the Note to the contrary notwithstanding;

(b) _ exercise the Statutory Power of Sale;
(c) foreclose this Mortgage in whole or in part; or

— @) _ atits election, exercise any and all other rights available to it at law or in equity and
take such other actions or proceedings as it deems necessary or available to protect its interest in
the Mortgaged Premises and Obligations secured thereby.

9. Application of Proceeds, Costs of Collection. In the event of redemption after
foreclosure proceedings have been commenced, the Mortgagee shall be entitled to collect alli
reasonable costs, charges and expenses, including reasonable attorneys’ fees, incurred up to the
time of redemption. In case of foreclosure sale the Mortgagee shall be entitled to retain out of the
monies arising from such sale all sums then secured by this Mortgage, whether then or thereafter
payable, including all reasonable casts, charges or expenses, including reasonable attorneys’ fees,
incurred or sustained by the Mortgagee by reason of any default in the performance or observance
of any condition of this Mortgage. The Mortgagor shall remain liable to the Mortgagee for any

deficiency remaining following such application.

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Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 27 of 38

Date Filed 6/29/2029 2:45 PM
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ie 10. Rights of ee.

jy (a) Without affecting the liability of the Mortgagor, or any other person (except any
person expressly released in writing), for payment of the indebtedness hereby secured or for the
performance of any obligations set forth or referred to in this Mortgage, and without affecting any
lien or other security not expressly released in writing, the Mortgagee at any time, and from time
to time, either before or after maturity of the Note, and without notice or consent, may: (i) release
any person liable for payment and performance of said indebtedness; (ii) make any agreement
extending the time, or otherwise altering the terms of payment of said indebtedness, or modifying
or waiving any of said obligations, or subordinating, modifying or otherwise dealing with the liens
securing payment of the Note; (iii) exercise or refrain from exercising or waive any right
Mortgagee may have; or (iv) release or otherwise deal with any property, real or personal, securing
said indebtedness, including the Mortgaged Premises.

(b) Notwithstanding the existence of any other security interests in the property
described in this Mortgage held by the Mortgagee or by any other party, the Mortgagee shall have
the right to determine the order in which any or all of said property shall be subjected to the
remedies provided herein and the right to determine the order in which the Obligations secured
hereby are satisfied from the proceeds realized upon the exercise of the remedies provided herein.
The Mortgagor and any party who consents to this interest in the said property and who has actual
or constructive notice hereof hereby waives and shall be deemed to have waived any and all rights
to require the marshaling of assets in connection with the exercise of any of the remedies permitted
by applicable law or provided herein.

11.  Miscel US.

(a) The Obligations of the Mortgagor hereunder, if more than one, shall be joint and
several,

(b)  Theuse of the singular herein shall include the plural, and the use of the plural shall
include the singular, and the use of the masculine gender shall include the feminine and the use of
the feminine shall include the masculine.

(c) _ In the event any one or more of the provisions of this Mortgage is found to be

invalid, illegal or unenforceable for any reason or in any respect, such invalidity, illegality or
unenforceability shall not limit or impair any other provision hereof.

(4) | This Mortgage shall be governed by the laws of the Commonwealth of
Massachusetts.

(ce) This Mortgage may be signed in multiple counterparts and collectively shall be
deemed one instrument.

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Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 28 of 38

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oy By signing below, the Mortgagor accepts and t .
ff in this Mortgage. , rigag Pp agrees to the terms and covenants contained

Executed as an instrument under seal, with an effective date of June 28, 2022.

Gates VAllaga\LLC
By: 10S Memb

Daniel Tohtian, Member

COMMONWEALTH OF MASSACHUSETTS
County: lhdd byex , SS.

On this 27 day of June, 2022, before me, the undersigned notary public, Daniel Toubian,
personally appeared, proved to me through satisfactory evidence of identification, which were
se MA DL : [type of identification] to be the person whose name
is signed on the preceding or attached document, and acknowledged to me that he signed it
voluntarily for its stated purpose and who further swore or affirmed to me that the contents of the
document are truthful and accurate to the best of his knowledge and belief.

 

S JOSEF DANILCHUK
B Notary Public
aig = Commonwealth of Massachusetts
S28 My Commission Expires March 29, 2024

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SECURED PROMISSORY NOTE

$100,000.00 June 28, 2022

THIS SECURED PROMISSORY NOTE IS IN THE PRINCIPAL AMOUNT OF
$100,000.

For value received, Gates Village, LILC, a Massachusetts limited liability company with
an address at 61 Sherbrooke Road, Newton, MA 02458 (the “Borrower”) does hereby promise to
pay to Houchague Toubian, an individual with an address at 275 Engle Street, B1, Englewood, NJ
07631 (the “Lender”), or order, in lawful money of the United States of America in immediately
available funds in the principal sum of Ome Hundred Thousand and 00/100 Dollars
($100,000.00) or such amount as is outstanding on the “Maturity Date”. Payments of both
principal and interest shall be made, in immediately available funds, at the address of the Lender
or at such other address as the holder of this Note may from time to time designate.

This Note has been executed and delivered subject to the following terms and conditions:

1. Lean: Subject to the terms and conditions hereof and of any documents evidencing,
governing or securing this Note, the Borrower unconditionally promises to pay Lender the
principal sum of One Hundred Thousand and 00/100 Dollars ($100,000.00) together with
interest in arrears from the date hereof on the unpaid principal balance hereunder, which shall be
due and payable on the Maturity Date. During the period prior to the Maturity Date, the Borrower
may, at its option, from time to time, prepay all or a portion of the principal sum hereunder. The
disbursement of funds under this Note shall be subject to an origination fee of Two Percent (2%)
payable to Lender, and such payment to Lender shall be offset from the amount disbursed to

Borrower under this Note.

2. Interest: Interest accrued on this Note shall accrue be payable on a fixed per annum rate
of 8.0% (the “Interest Rate”) on the unpaid principal balance hereof which and shall be payable in
full on the Maturity Date. Interest calculations shall be based on a 360-day year and calcilated on

the basis of actual days elapsed.

If, at any time, the rate of interest, together with all amounts which constitute interest and
which are reserved, charged or taken by Lender as compensation for fees, services or expenses
incidental to the making, negotiating or collection of any loan evidenced hereby, shall be deemed
by any competent court of law, governmental agency or tribunal to exceed the maximum rate of
interest permitted to be charged by the Lender to the Borrower, then, during such time as such rate
of interest would be deemed excessive, that portion of each sum paid attributable to that portion
of such interest rate that exceeds the maximum rate of interest so permitted shall be deemed a

voluntary prepayment of principal.

3. Maturity Date: this Note shall expire and be payable on June 28, 2024, which is Twenty-
Four (24) months from the date hereof (the “Maturity Date”). All outstanding principal of this

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Case 1:22-cv-11521-AK Document 1- i
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yr Note and all interest accrued and unpaid thereon shall be due and payable in full on the first to
occur of (i) acceleration by the Lender after an Event of Default; or (ii) the Maturity Date. Note
is payable in full on June 28, 2024. Any renewal of this Note beyond the Maturity Date shall be

at the Lender’s sole discretion.

4. Collateral Sceurity: This Note is secured by a Mortgage (“Mortgage’ ”) dated June 28,
2022 from mortgagor Gates Village LLC to Lender related to property more particularly described

in said Mortgage-and located at 13-15 Gates Street, Worcester, MA (the “Collateral Property”),
which Mortgage is recorded at the Worcester County District Registry of Deeds.

5 Prepayment: The principal balance of this Note may be prepaid, in whole or in part, at
any time and from time to time, without premium or penalty.
6. Conditions to Lending:
(a) The principal sum is subject to the following conditions precedent: (i) the Lender shail
ute and deliver this Note

have received such documents evidencing the Borrower's power to exec A
and to borrow hereunder as the Lender may require; (ii) the Borrower shall have delivered, or
caused to be delivered, to the Lender all such guaranties, insiruments, agreements, opmmobs and
other documents as the Lender may require in connection herewith, including without limitation,

and if applicable, such security agreements, mortgages, assignments, pledge agreements,
certificates, financing statements and other documents as the Lender may require to create,
preserve or perfect any lien, security interest or charge securing the Borrower's obligations to the
Lender; and (iii) no Event of Default (as herein defined) shall have occurred, and no event shail
have occurred or be continuing which, with the giving of notice of lapse of time or both, would
constitute an Event of Default.

7. Events of Default; Acceleration: Notwithstanding the terms contained herein, 2
minimum thirty (30) day notice and default pericd shall apply prior to any applicable event
maturing into an Event of Default hereunder or under any other related agreement or document. In
the event of a conflict between this provision and any other term contained herein or in any other
agreement, this provision shall control. Each of the following shall constitute an "Event of

Default" hereunder:

(a) failure of Borrower to pay or perform any ofits liabilities or obligations to Lender under
this Note when due to be paid or performed following notice by the Lender and a thirty (30) day
cure period; (b) failure by the Borrower to comply with any covenant, term or condition contained
in this Note; (c) failure by Borrower to comply with any other term of, or the occurrence of a
default under, this Note, or the failure by the Borrower to comply with the terms of, or the
occurrence of a default under, any mortgage, guaranty, loan or security agreement or other
agreement or document which may now or hereafter evidence, govern or secure this Note or any
guaranty or endorsement or this Note; (d) any representation or warranty made by the Borrower in
any loan or security agreement or other agreement or document which may now or hereafter
evidence, govern or secure this Note or any guaranty or endorsement of this Note, proves at any’
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 31 of 38

Date Filed 6/29/2022 2:45PM
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time to be incorrect in any material respect; (e) sale or other disposition of or encumbrance on the
Collateral Property, except as permitted hereby or by any agreement, document or instrument
evidencing, governing or securing this Note or any guaranty or endorsement of this Note; (f) the
making or issuance of any levy, seizure, attachment, execution or similar process against the
Collateral Property; or (g) incompetency of, dissolution of, termination of the existence of,
insolvency of, business failure of, application for or appointment of areceiver, trustee, conservator
or liquidator of any part of the property of, assignment for the benefit of creditors by, or the
commencement of any case or any other proceeding (whether for the purpose of liquidation or
rehabilitation or otherwise) under any bankruptcy or insolvency laws or the death of, by or against
Borrower.

Upon the occurrence of any Event of Default hereunder the unpaid principal balance
hereof, together with accrued and unpaid interest thereon, shall become immediately due and
payable, at the option of the Lender, and any obligation of the Lender to lend hereunder shall
terminate.

8. Waivers: Every maker, endorser and guarantor hereof, or of the indebtedness
evidenced hereby: (i) waives notice of and consents to any and all settlements, compromises,
favors and indulgences (including, without limitation, any extension or postponement of the time
for payment), any and all receipts, substitutions, additions, exchanges and releases of collateral,
and any and all additions, substitutions and releases of any person primarily or secondarily liable;
(ii) waives presentment, demand, notices, protest and all other demands, notices and suretyship
defenses generally, in connection with the delivery, acceptance, performance, default or
enforcement of or under this Note; and (iii) hereby acknowledges that to the extent that the
transaction of which this Note is a part is a commercial transaction and, to the extent permitted by
any state or federal law, Borrower does hereby waive the right to prior notice and a hearing on the
right of any holder of this Note to any remedy or combination of remedies that enables said holder,
by way of attachment, foreign attachment, garnishment or replevin, to deprive Borrower of, or
affect the use, possession or enjoyment by Borrower of, any of their property at any time prior to
judgment in any litigation instituted in connection with this Note or the transaction of which this

Note is a part.

9. Jury Trial Waiver: THE LENDER AND BORROWER IRREVOCABLY WAIVE ALL
RIGHT TO A TRIAL BY JURY IN ANY PROCEEDING HEREAFTER INSTITUTED BY OR
AGAINST THE LENDER OR BORROWER IN RESPECT OF THIS NOTE OR ARISING OUT
OF ANY DOCUMENT, INSTRUMENT OR AGREEMENT EVIDENCING, GOVERNING OR

SECURING THIS NOTE.

10. | Miscellaneous: Any delay on the part of the holder hereof in exercising any right
hereunder or under any mortgage or security agreement (if applicable) which may secure this Note
shall not operate as a waiver and any waiver for one occasion shall not operate as a waiver in the
event of any subsequent default. The rights and remedies of the holder hereof shall be cumulative
and not in the alternative, and shall include all rights and remedies granted herein, in any document
evidencing governing or securing this Note, and under all applicable laws. This Note is the final,
complete and exclusive statement of the terms governing this Note. If any provision of this Note
shall, to any extent, be held invalid or unenforceable, then only such provision shall be deemed
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 32 of 38

Date Filed 6/29/2022 2:45PM
Superior Court - Worcester
Docket Number

ineffective and the remainder of this Note shall not be affected thereby. The provisions of this
Note shall bind the heirs, executors, administrators, assigns and successors of each and every
Borrower and shall inure to the benefit of Lender, its successors and assigns. This Note shall be
governed by and construed in accordance with the laws of the Commonwealth of Massachusetts
and shall be deemed an instrument executed under seal.

EXECUTED as an instrument under seal as of the date first above written.

 

BORROWER:

Gates Village.L.

Be: / » OS Men bem
* Daniél Toublaa, Member
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 33 of 38

Date Filed 6/29/2022 2:45 PM
Superior Court - Worcester
Docket Number -
TG Law, LLC
867 Boyiston St, Suite 500
Boston, MA 02116
TGLawLLC@egmail.com
617-564-1140
INVOICE
Invoice Submitted Electronically to:
Gates Village LLC ' .
Daniel Toubian
61 Sherbrooke Rd.
Newton, MA 024458
June 28, 2022
Professional Services RE: LOAN Hours
6/16/22 Prepare Note; Call with Mr. Toubian 1.25
6/17/22 Prepare Mortgage; attn to loan 0.75
6/22/22 Attn to Loan Documents 0.25
6/24/22 Registry of Deeds search; attn to Loan 1.25
6/27/22 Revise Loan Documents; recording requirements 1.0
6/28/22 Call.with Mr. Toubian; Record Mortgage 1.50
For professional services rendered Amount
6.0 $1,800
Additional Charges RE: LOAN
6/28/22 Mortgage recording fee $205
6/28/22 Postage to Registry of Deeds $8.95
Total additional charges $213.95
Total amount of this bill $2,013.95

Balance due $2,013.95
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 34 of 38

Date Filed 6/29/2022 2:45 PM
Superior Court - Worcester
Docket Number

June 28, 2022

TG Law, LLC

867 Boylston St.
Suite 500

Boston, MA 02116

DISBURSEMENT AUTHORIZATION

Re: $100,000 Secured Promissory Note by Houchague Toubian to Gates Village LLC
(“Borrower”); Mortgage Secured by 13-15 Gates Street, Worcester, MA 01610.

 

 

 

 

 

To Whom It May Concern:
On behalf of the Borrower, I hereby authorize the payment of the following expenses from the

disbursement of the Loan.

Loan Amount: ($160,000.00)

Less Expenses:

Lender Origination Fee $2,000.00

Total Expenses: $2,000.00

Net Proceeds to Borrower $98,000.00

 

 

 

 

Sincerely,

Daniel Toubian

Daniel Toubian

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Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 35 of 38
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CASE NAME: . = = ” -Dennis P. McManus «Clerk of Courts.
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: . + + Plaintiff{s) ‘- ‘ ¥ ‘
vs. Le oot, vera oomega\ YO
. ‘ _ 0 225 Main Street es nt
x mEVARD — Tnsuence Com pans | Worcester, MA 1608 ayo? 1
Defendant(s) | : . cuens |
“prres* g . :

THIS SUMMONS IS DIRECTED TO hia Gund. Z OK Coetnt mame). |

You are being sued. The Plaintifi(s) named above has started a lawsuit against you. A copy of the Plaintif?'s scan filed ,
against you is attached fo this summons and the original complaint has been filed i in the \Nocces$¢ Sxeet ot Court: |.
YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS. )

1. You must respond to this lawsuit in Lwriting within 20d lays.
-..if you do not sespond;the court may decide the case against you and award the Plaintiff everything asked for in the ‘coffipiaint. ©

You will also lose the opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect to -
resolve this‘matter with the Plaintiff. If you need more tigie to respond, you may requést ani extension of time in writing
from the Court. . mo

2. How to Respond.
To respond fo this lawsuit, you must file a written to response with the court and mail a copy fc to the Plaintiffs Attomey (or the

Plaintiff, if unrepresented). You-can do this by:
a) Filing your signed original response with the Clerk's Office for Civil Business, (Moree ser Se aster Court ,
__ .425-Mow— Gre > WWorcestec A- of GU. -.(address),.by-mail-orin-personAND-=—- - -
b) Delivering or mailing a copy of your response to the Plaintiff's Attomey/Plaintiff at the following address:
TG law, LLC, B62 Bogisien sr Sete 59% GsSion, At A2I1b6

3. What to Include in Your Response.

An "Answer" is one type of response to a Complaint. Your Answer must state whether you agree or disagree with the fact(s)
alleged in each paragraph of the Complaint. Some defenses, called affirmative defenses, must be stated in your Answer or

you may lose your right to use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that
are based on the same facts or transaction described in the Complaint, ‘then you must include those claims in your Answer.

Othemise, you may lose your: right to sue the Plaintiff about anything related. to this lawsuit. If you. want io-have your case

“heard by: a jury, ‘you must specifically request a jury trial in your court no more than 10 days after sending your Answer.

 

 
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 37 of 38

 

 

3 (cont). You can also respond to a Complaint by filing a "Motion to Dismiss,” if you believe that the complaint is legally .
invalid or legally insufficient. A Motion to Dismiss must be based on one of the legal deficiencies or reasons listed under
Mass. R. Civ, P. 12. If you are filing a Motion to Dismiss, you must also comply with the filing procedures for "Civil Motions"

described in the rules of the Court in which the complaint was filed, available at

www.ma ss.gov/courts/case-lega |-res/rules of court

4. Legal Assistance.
You may wish to. get legal help from a lawyer. If you cannot get legal help, Same basic information for peop

themselves is available at www.mass.gov/courts/selfhelp.

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5. Required Information on All Filings: oe a a
The "civil docket number" appearing at the top of this notice is the case number assigned to this case and must appear on the
front of your Answer or Motion to Dismiss. You should refer to yourself as the "Defendant." .

Witness Hon. Heidi E. @riet |. , Chief Justice on Pugs 2. , 20°22 . (Seal)

 
  

 

Clerk-Magistrate

Nate: The number assigned to the Complaint by the Clerk- Magistrate at the beginning of the lawsuit should be indicated on the summons before Ris served on the Defendant.

 

PROOF OF SERVICE OF PROCESS

1 hereby certify that on _glitbna . } served a copy of this summons, together with a copy of the complaint
in this action, on the defendant named in this summons, in the following manner (See Mass. R. Civ. P. 4(d)(1-5)):

—setitel Pda habe (secuculy ak 29 Pubkec Sgcire tikes
Bawe PA oh $1i4]9022 a! O41 AM.

patet:_ 6/7/2022. Signature: _&.

Depuky Leste /Aiddaugh

 

 

 

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N.B. TO PROCESS SERVER:
PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX - BOTH ON THE ORIG

SUNINIONS AND ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT.

Date:

 

 

rev. 1/2019
Case 1:22-cv-11521-AK Document 1-1 Filed 09/16/22 Page 38 of 38

” SHERIFF'S OFFICE OF LUZERNE COUNTY

Brian M. Szumski Randy E. Robertson

 

 

Sheriff County Manager
Joan Hoggarth -
Director of Judicial Services & Records
GATES VILLAGE LLC og Ln Case Nuniber
VS. . 2285CV00749

AMGUARD INSURANCE COMPANY

 

SHERIFF'S RETURN OF SERVICE

08/17/2022 09:47 AM - LESLIE MIDDAUGH, DEPUTY SHERIFF, FOR SHERIFF OF SAID COUNTY, BEING DULY
SWORN ACCORDING TO LAW, DEPOSES AND SAYS, THAT ON AUGUST 17, 2022 AT 9:47 AM,
PREVAILING TIME, HE SERVED THE WITHIN COMPLAINT & SUMMONS UPON AMGUARD INSURANCE
COMPANY, THE WITHIN NAMED, BY HANDING TO ANDREW LAKE, SECURITY, THE PERSON FOR THE

- TIME.BEING.IN CHARGE AT -39 PUBLIC SQUARE, WILKES BARRE; PA 18703 INTHE COUNTY’OF ~
- LUZERNE, STATE OF PENNSYLVANIA, A TRUE AND ATTESTED COPY- AND MAKING KNOWN*THE™
CONTENTS THEREOF.

 

 

August 17, 2022

(c} CountySuite Sheriff, Teleosof, Inc.
